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wm ar::;SM£gm
-v- 2:020R20165-01-D “~'

ALV|N IRWIN MOSS
Robert G. Chadwe|l Retained
Defense Attorney
1601 One Union Square
600 University St.
Seattle, WA 98101

 

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November1, 1987)

The defendant pleaded guilty on Juiy 14, 2005 to Count l of the indictment pursuant to a
plea agreement The Court accepted a Joint Statement of the parties in lieu of a
presentence report and proceeded to sentencing. The Joint Statement provided
sufficient information for the Court to sentence the Defendant. According|yl the Court
has adjudicated that the Defendant is guilty of the following offense(s):

Date Count
Title & Section Nature of Offense Offense Numberjs)
§O_'Lude_d
18 U.S.C. § 1962(c) Substantive RICO (Racketeering) 05/08/2002 1

Pursuant to the plea agreement, counts 2 through 89 are dismissed As part of the plea
agreement, the defendant also agreed to forfeit to the United States pursuant to 18
U.S.C. § 1963 the sum of U.S. $12,000,000.00 and other funds described in the
agreement in satisfaction of the forfeiture provision that was charged in the indictment

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

|T iS FURTHER ORDERED that the defendant shall notify the United States Attorney
for this district within 30 days of any change of name, residence, or mailing address until
all fines, restitution, costs and special assessments imposed by this judgment are fully
Paid. HWL
Defendant's Canadian Soc. lns. No.: 707-612-438
Defendant’s Canadian Passport No.: PC356685

   

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with Hule 55 and/or 32(¢., . .".C.'P on

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Defendant's Date of Birth: 12/02/1933

Defendant’s U.S. |V|arsha| No.: 19614-076

Date of imposition of Sentence: Ju|y 14, 2005

Defendant’s Mai|ing Address: West Tennessee Detention Facility
inmate No.19614076
P. O. Box 509
Mason, TN 38049

©?;:C,wa<,

/ BERNlcE B. ooNALo
uNITED sTATEs DisTRlcT JUDGE

July /9 , 2005

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lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 60 Months. The Court having found that the
defendant has been in continuous custody since his arrest on December 6, 2002
orders that he receive credit toward the service of this sentence for the time
spent in custody from the date of his arrest on December 6, 2002 through the
present date of sentencing.

The Court accepts the Joint Statement submitted by the United States and
the defendant in lieu of a Presentence Report. The Court recommends to the
Bureau of Prisons that the defendant be designated to FDC SeaTac, Seatt|e,
Washington. if FDC SeaTac is not availab|e, the Court recommends that the
defendant be designated to FDC Sheridan, Sheridan, Oregon.

The Court recommends to the Department of Justice that any application
filed by defendant pursuant to applicable treaties or conventions for transfer to
Canada to serve his sentence of incarceration be granted, and that he be
transferred as expeditiously as possible to a Canadian penal facility for that
purpose.

The defendant is remanded to the custody of the United States Marshal,

FORFE|TURE

The Defendant shall forfeit to the United States pursuant to 18 U.S.C. § 1963 and the
terms of the Piea Agreement:

The sum of twelve million dollars in U.S. funds ($12,000,000.00) which is to be
deposited into the Registry of the Court.

Any and all assets of defendant currently held by inversiones Haas, S.A.; Servicios de
Soporte al Turismo, S.A.; or by Luis-Enrique Vi|la|obos, Osvaldo Vi|la|obos, or Freddy
Vil|aiobos individual|y; or by any other company controlled by them (the “Vi||a|obos
claims”) to the extent that either the defendant or the United States is able to recover
those assets.

RETURN

l have executed this judgment as follows:

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Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. |Viarshal

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SUPERVISED RELEASE

No period of supervised release imposed.

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CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in
accordance with the schedule of payments set forth in the Schedu|e of Payments. The
defendant shall pay interest on any fine or restitution of more than $2,500, unless the
fine or restitution is paid in full before the fifteenth day after the date of judgment,
pursuant to 18 U.S.C. § 3612(f). A|i of the payment options in the Scheduie of
Payments may be subject to penalties for default and delinquency pursuant to 18
U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00 $0.00 $0.00

The Specia| Assessment shall be due immediate|y.
F|NE
No fine imposed.
REST|TUT|ON

No Restitution was ordered.

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lN THE UN|TED STATES DISTRICT COURT
FOR THE WESTERN DISTR|CT OF TENNESSE

 

wEsTERN oivlsioN FiL D ‘N OPEN COURT
DATE:_.__?_'.\_"_‘_.";_;"QO_§.._._
uNlTED sTATEs oF AMERch, TiME:_GlZ>F_£\I§___
plaintiff, leALs:_M__
vs. Criminai No. 02-20165-D
ALV|N lRwlN Moss, *
Defendant. *
JolNT sTATEMENT

 

The United States and Mr. A|vin In/vin Moss have negotiated a written P|ea
Agreement pursuant to FRCrP Rule 11(c)(1)(C), a copy of which is attached to this
report. Entry of the plea is now set for Ju|y 14, 2005. One of terms of the agreement
provides that the government will act to expedite Mr. Moss’s transfer to the custody of
the appropriate authorities in Canada to serve the remainder of his sentence. The
procedures for applying for transfer pursuant to the applicable treaties and conventions
are time consuming. An application for transfer under the program cannot even be
made until Mr. lV|oss arrives at his designated facility. An application is then reviewed by
officials of both governments Further, even after a transfer has been approved, the
actual transfers of prisoners between the United States and Canada only occur four

times per year.

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The United States has further agreed to recommend that the Court impose
sentence immediately following Mr. lVloss’s entry of his plea of guilty. Shou|d the Court
accept this recommendation, lV|r. Moss may be eligible for transfer to Canadian
authorities in December of this year. lf sentencing occurs in the normal course of
practice, Nlr. Moss’s transfer will not likely earlier than until March 2006.

The parties understand the United States Probation Office, as a matter of policy,
' does not commence a pre-sentence investigation nor produce a pre-sentence report
until a defendant has actually entered his plea of guilty. To avoid the delay associated
with preparing such a report and to provide the Court with sufficient information upon
which to base=its decision to accept the plea and to impose sentence as recommended,
the parties jointly submit the following report for use by the Court at sentencing in lieu of

a pre-sentence report.

identifying Data

Date of Birth: 12/02/1933 P|ace of Birth: Winnipeg, |Vlanitoba
Race: Caucasian Sex: N|a|e

FB| No.: Citizenship: Canada

U.S. Marshal No.: 19614-076 Education: High Schoo|
SSN: N/A Canadian Citizen Dependents: None

Other |D No.:Canadian Passport #: PC356685 Codefendants: See indictment
Canadian Socia| insurance #: 707-612-438

Current Address: Western Tennessee Detention Facility
inmate #19614076
PO Box
l\/|ason, TN 38049

Detainers: None known

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Assistant U.S. Attorneys Defense Counsel

Dan L. Newsom Robert G. Chadwell
Christopher E. Cotten |Vchay Chadwell, PLLC
Federa| Building 1601 One Unlon Square
167 N. Main Street, Suite 800 600 University Street
Memphis, Tennessee 38103 Seattle, WA 98101
(901) 544-4231 (206) 233-2800

Chargejs) and Procedural Histo;y

On |Vlay 8, 2002, a federal grand jury in the Western District of Tennessee
returned an indictment against numerous defendants, including Alvin lnrvin Moss,
alleging a violation of the Racketeering influenced and Corrupt Organizations (R|CO)
Act; a RlCO conspiracy, mail fraud, unlawful importation, money laundering and
forfeiture allegations Count 1 alleged a violation of RlCO in violation of 18 U.S.C.
§1962(0) and 119 individual racketeering acts; Count 2 alleged a RlCO conspiracy in
violation of 18 U.S.C. §1962(d); Counts 3-9, 11, and 13-72 alleged mail fraud in
violation of 18 U.S.C. §1341 and 18 U.S.C. §2; Counts 10 and 12 alleged unlawful
importation in violation of 18 U.S.C. §545 and 18 U.S.C. §2; Counts 73-88 alleged
money laundering in violation of 18 U.S.C. §1956(a)(2)(A) ‘, 18 U.S.C. §1956(a)(2)(B)(i)
and 18 U.S.C. §1961(1) and 18 U.S.C. §2. Count 89 alleged forfeiture The charges
arose out of the illegal sale of foreign lottery tickets to residents of the United States by
World Wide Enterprises (WWE) and lDNl Direct l\/larketing Corp (lDlVi), both owned and

operated by lVlr. Moss. WWE was based in Vancouver, British Co|umbia. lDl\/l was

 

‘ These Courts were dismissed by the District Court, finding the extradition of
Defendant Alvin lVloss excluded these particular criminal violations

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based in Barbados. So|icitations to potential purchasers were made through the U.S.
mail and through telemarketing ca||s.
P|ea Agreement

A copy of the P|ea Agreement has been attached to this report. in summary, the
government and Mr. Moss have agreed that |V|r. Moss will enter a guilty plea to Count 1
of the indictment a RlCO violation. The plea will be pursuant to 11(c)(1)(C) in which the
parties agree that iVlr. iVloss will receive a sentence of five (5) years in prison, forfeit $12
million dollarsl and cooperate with the government as specified in the P|ea Agreement,
including the dismissal of a pending appeal in Barbados. As part of the plea agreement,
the government agrees to assist in expediting Mr. Nloss's request for transfer to Canada
to serve his prison time, in light of lVlr. Moss's poor and rapidly declining health and his
many ties to Canada. The plea agreement also states that the government promises to
refrain from prosecuting Mr. Nloss for any other offenses known to it at the time of the
plea agreement.
Arrest and custody

Mr. Nloss was arrested on these charges in Costa Rica on December 6, 2002
pursuant to a request for extradition from the United States Attorney’s Office for the
Western District of Tennessee submitted to Costa Rican authorities on or about
November 25, 2002. lVlr. Moss was in some form of custody in Costa Rica from
December 6, 2002 to April 16, 2004, when he was extradited to the United States.

Since arriving in the United States, Mr. iVloss has been in continuous custody.

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Offense Conduct

The government will provide a detailed statement of Mr. l\/loss’s conduct at the
time of the entry of the plea which is fully incorporated herein as the Government’s
Basis in Fact, but in summary iVlr. lVloss’s conduct is set forth beiow.

Since at least 1992, Mr. lVioss, through use of various corporations, associations
and business names, created and operated a business whereby citizens of the United
States were solicited to purchase foreign and domestic lottery chances The first
company that Mr. lV|oss formed to engage in this business was World Wide Enterprises,
i_td. (WWE), a company located in Vancouver, British Co|umbia, Canada. This
company was later moved to Barbados, West indies, and the name was changed to
IDlVl Direct i\/iarketing Corp. (lDl\/l). lVlr. lVloss founded and was a director, officer,
beneficial owner and true party in interest of |DlVi and WWE. WWE, and later lDM,
conducted various aspects of the lottery operation, such as direct mail solicitation and
te|emarketing. A|though other companies were retained by WWE/lD|\/l to engage in
these activities designed to support their efforts, lVlr. Moss retained ultimate control over
the lottery ticket marketing operation. Mr. lVloss and the defendants primarily solicited
buyers by mass mailings, originating in Canada and mailed throughout the United
States. A second method was through telephone calls originating in Vancouver, British
Co|umbia, Canada, or Freeport, Jamaica. WWE/iDM rented lists of potential customers
from a variety of sources, including JAM| i\/|arketing. lVlr. Moss approved or delegated

responsibility for approving direct mail solicitations before WWE/lDM mailed them to

potential purchasers

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Each mass mailing consisted of a solicitation in the form of printed “promotional
materials” relating to a particular “promotion." A promotion involved selecting a
particular lottery or lotteries, mostly foreign but some in the United States, to include in
the promotion. Over the years included in the indictment, the defendants produced and
completed millions of mass mailings to U.S. Citizens. The various promotions were
designed to appear to be originating from different sources, but in fact were originating
from the defendants in each case. The promotional materials identified two ways in
which solicited citizens could respond: by diallng a “1-800” telephone number or by
returning a purchase form in a self-addressed envelope that contained a promotional
name and a post office box address only. Callers to the “1-800" number could use a
credit card to send money to the defendants while those responding by mail could send
checks or money orders. WWE/|DM used a number of promotional names to identify
the company purportedly contacting the citizens, including international Lottery
Services, international Lottery Renewal, and international Lottery Rewards Commission
ULRC)

Promotions involved various methods of solicitation. For instance, a citizen might
be told that they had won a sum of money, but that a small “fee” must be received
before the winnings could be fonivarded to the citizen. Another solicitation might be in
the form of an invitation to participate in a particular lottery, usually foreign. For a
certain price, the defendants represented that they would purchase lottery tickets on
behalf of the personl play the numbers for the person, and if successful, any winnings

would be held on “account” for the person, Often, promotions invited the person to

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participate in the lottery as a member of a “pool” of piayers, in which case the person
would receiver his or her share of the “pool" winnings, if any.

The amounts of money being solicited from an individual person varied from
promotion to promotion, ranging from $19.95 for an individual ticket to $299.00 for a
number of tickets to be purchased over time. in order to receive the solicited person’s
orders and paymentsl the defendants rented numerous post office boxes in Canada.
Orders and payments sent to the post office boxes were regularly collected and
processed To make payment by credit card or direct bank draft, a customer would deal
with the teiemarketing operations The defendants also used merchant credit card
accounts in various countries including Canadal Austraiia and Vanuatu to process
credit card orders As with the mailings te|emarketing representatives used different
company names for each contact so that it appeared to potential customers that the
solicitations came from different sources

The defendant caused misleading and deceptive representations or omissions of
material facts in these promotions concerning the true nature of the solicitation in order
to induce citizens of the United States to purchase lottery tickets Such misleading or
false statements included representations that other customers had recently won big
prizes; that lottery winnings were "tax free;” that the potential customer being solicited
had already won or had been pre-selected as a likely winner; and that a psychic with a
proven track record of winning would personally select winning numbers for them. in
addition, customers were not told that it was illegal to sell lottery tickets in the manner

being offered.

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When defendants company received orders from citizens for lottery tickets they
would obtain blocks of lottery tickets for that foreign lottery from a retail outlet. The
tickets themseives were not fonlvarded to the customer but were held by defendants

As part of the defendants ongoing operations WWE/iDM purchased tickets for
national lotteries of Austraiia, Germany, Britain, France, Japan, and U.S. domestic
lotteries. WWE/iDM maintained an entity in Canada for collecting and processing
orders After iVir. Moss's operation was moved to Barbados, the Canadian entity
collected the orders and payments they would be sorted by “promotion," boxed up and
sent, via FedEx, to iDlVl in Barbados. The payments and orders were processed in
Barbados, making use of the merchant credit card accounts and various bank accounts

in some cases proceeds from winning lottery tickets were not forwarded to
customers who had purchased the tickets but were held by the defendants purportedly
for the purpose of applying said proceeds to the purchase of future lottery tickets After
iDiVi ceased operations in late 1996, an effort was made to remit customer balances
through Gioba| Liquidation, a company formed for this purpose.

in addition to the methods of obtaining payments from customers and failing to
pay winning lottery proceeds the defendants used a method of operation whereby the
identities of the true and beneficial owners operators directors and real parties in
interest would be concealed Thus the defendants used multi-ievei corporate entities1
fictitious persons as management figures numerous accounts and account names and

various banking facilities

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MR. MOSS’S CR|M|NAL HlSTORY

Other than this case, Mr. iVioss has never been arrested or charged with any
criminal offense, either as a juvenile or an adult. There are no known detainers lodged
against Mr. lVioss
§|O_GRAPHI(L|__r lNFORMAT|ON

iVir. iVioss was born on February 12, 1933, in Winnipeg, Manitoba, Canada, to a
family of very limited means His father, lzzy Moscovitch, had immigrated to Canada
from Romanla and worked his entire life as a tailor. His father died at 98. His mother,
Sarah Katz iVloscovitch, had immigrated to Canada from Russia and was a homemaker.
She died at 87.

iVir. Moss has three siblings all of whom are still alive, though eideriy. His
brother Herb iVioss is 85. Herb lives in Winnipeg, i\/ianitoba, Canada and suffers from
Parkinson’s disease. His sister, Seema Siegai, is 80 and lives in Lakewood, Caiifornia.
Mr. iVioss’s brother Jerry Moscovitch is 77. _Jerry lives in Winnipeg, lVianitoba, Canada.

Mr. Nloss grew up in Winnipeg in what he referred to as the ".lewish quarter." He
reported it was a somewhat rough area and described having to begin fighting for
himself at a very young age. These fights were generally with other immigrant children
from the Ukrainian and Poiish immigrant communities in the area.

At age 6, iVir. Moss began attending elementary school at the Aberdeen Schooi
in Winnipeg. He was a member of the Cub Scouts and the Boy Scouts, but could not
recall how far he progressed as a Boy Scout. in his teenage years Mr. iVioss took a job

serving food at the iViontefiore Ciub, a private club for Jewish businessmen.

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iVir. Moss attended high school at St. John’s Technicai Schooi in Winnipeg. He
graduated at 19 years of age and has not received any further formal schooling.

iVir. Moss’s first job out of high school was as a sales clerk at City l_umber, Ltd.,
618 Dufferin Avenue, in Winnipeg, He reported he was a sales clerk and did anything
and everything else that was asked of him. Thls was his introduction to the lumber
business

After a time, he left City Lumber and moved to Brown and Rutherford Lumber, 5
Sutherland Avenue in Winnipeg. There he continued to sell lumber and to learn the
business

Whiie working at this job, he became engaged to Rocheiie, whom he later
married

He left Winnipeg and the lumber trade to move to Vancouver, B.C. There he and
his partner, iViarvin Lercher, established Super Paint and Supp|ies, Ltd. They started
the business from scratch with very little money and a lot of hard work. The business
was reasonably successful for a time. At some point, Mr. iVioss developed a “double
hernia" and could no longer work as he had previously. He sold his half of the business
to his partner for $25,000.

After moving to Vancouver, iVir. iVioss married Roche|ie. They had three children,
Larry, (born Ju|y 2‘l, 1963); Beverly (born Juiy 24, 1965); and Jeff (born November 20,
1968)

After selling his interest in Super Paints, Nir. |Vioss bought four building lots He

built a home on each lot and sold them. lVir. iVioss made a little money in this

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occupation but at the time, land was cheap and houses were not so fancy as today. lVlr.
iVioss did not continue as a developer but returned to the lumber trade.

He began work with CanAl\/i industries Ltd., working principally as a lumber
broker. This required him to spend much of his time on the telephone making deals
He said he sold to a number of businesses in the United States including one Puyaiiup,
Washington that purchased wood for the making of pallets

During this period, Nlr. lVloss was fascinated with the mail order business and
often placed impulse orders himself. He was eager to get involved in this business
which he considered a tremendous opportunity, but he did not have a product. He was
introduced to the concept of selling British Co|umbia lottery tickets by mail by Ray
Rudin, a friend His lottery business began in his home with his wife and young children
being involved in the envelope stuffing operation.

After a time, the home lottery ticket sales business became sufficiently
successful that he could leave the lumber brokerage business to concentrate solely on
the lottery business His initial lottery business was World Wide Enterprises. He later
moved his business to Barbados and operated as iDi\/i Direct Marketing, Corp. He
continued in the lottery business until his retirement in late 1996 after the execution of
search warrants at iDN| sites in Barbados.

lVlr. lVloss and his wife, Rocheiie, were divorced in the early 1990's.

|Vir. iVioss did not serve in the military.

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Physical Condition

Mr. |Vioss is in generally poor but currently stable health. He suffers from
numerous debilitating illnesses Until 2002, Mr. lVloss had not experienced significantly
life-impairing illnesses but suffered from a variety of ailments and was prescribed and
taking numerous medications Mr. lVioss was diagnosed with Type ll diabetes in 1989
and has taken medication for this disease since that time. He had surgery in 1963 to
repair a hernia and has also been diagnosed with gout, anemia, irritable bowel
syndrome, ulcerative colitis and sciatica.

in August 2002, Mr. lVioss suffered a cerebrovascuiar accident (stroke), resulting
in severely impaired vision, lack of baiance, unstable gait and associated neurological
issues such as memory loss vagueness and occasional bouts of dementia. He was
diagnosed with temporal arteritis which was deemed to have contributed to the stroke
and for a time, he took prescribed medications daily to treat this disease.

Whiie in custody in Costa Rica, he was hospitalized for a period of time at Cima
Hospitai. Upon his arrival at West Tennessee Detention, Mr. Moss experienced weight
loss vomiting, nausea and fatigue. Mr. iVloss initially required a wheelchair for mobility.
He also demonstrated significant difficulties with short-term memory. Thankfuiiy, his
physical and mental condition have improved l-ie is now able to walk with the use of a
cane but still sometimes experiences difficulty with balance. He has been taken off
some his original medications such as prednisone and mexthotrexate which had been
prescribed to treat temporal arteritis associated with his prior stoke. He now takes
insulin for his diabetes imodium to control diarrhea, Cardura for a prostate problem,

and Zanex for anxiety.

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His mental condition has also improved According to the medical staff at the

West Tennessee Detention Facillty,

he does experience occasional difficulties with

short-term memory but by and large his mental condition is appropriate for an individual

of his age. He is alert, responsive, and able to assist in his own care. They uniformly

view him as being competent Mr. Moss has never taken any drugs not prescribed for

him by a physician.

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Respectfui|y submitted this /q"Juiy, 2005.

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'Ro E .§,HADWELL (#22'633)

Cou s __i for Avin Moss

600 Universit Street, Suite 1601
Seattie, WA 98101

(2 233-2800

DA`N'L`T~NEwsol\/i

Senior Litigation Co sei
United States Attorn y’s Office
Western District of Tennessee

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IN THE UN|TED STATES DlSTR|CT COURT
FOR THE WESTERN DlSTR|CT OF TENNESSEE

 

wEsTERN DivlsioN FlLEo lN oPEN counir
., DATE:_Y_'_\_L.*..'_.B_O_¢§__
uNlTEo sTATEs oF AMERch, T¢ME: 410 7 A»m
Plaintiff, lNlTlALS: -
vs. Criminal No. 02-20165-D
ALviN lRwlN Moss, *
Defendant. *
PLEA AGREEMENT

 

l, ALV|N lRWlN MOSS, understand that the United States Attorney for the
Western District of Tennessee 1 and my defense counsel have entered into plea
negotiations of which l am fully aware and understand

My attorney, Robert G. Chadweli, Esq., whom i have retained to represent me,
has informed me of the nature of the criminal charges against me in the above-
referenced indictment and the elements of each charge, each of which must be proved
by the Government beyond a reasonable doubt before i could be found guilty as
charged

By voluntarily pleading guilty, i knowingly waive and give up my constitutional
right to plead not guilty, to compel the Government to prove my guilt beyond a
reasonable doubt, not to be compelled to incriminate myself, to confront and cross-

examine the witnesses against me, to subpoena witnesses on my behalf, and to have a

 

‘The term “Government” as used herein refers solely to the United States
Attorney's Office for the Western District of Tennessee.

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jury or judge determine my guilt on the evidence presented and other constitutional
rights which apply to a defendant on trial in a criminal case.

l am pleading guilty to the charges described herein because l am guilty and
because it is in my best interest to do so, and not because of any threats or promises
beyond those commitments made in this agreement. i have discussed sentencing with

my attorney.

l understand the plea agreement in this case to be as follows:

i will enter a plea of guilty to Count 1 of the above-referenced indictment
charging me with a violation of Title 18, United States Code, Section 1962(c)
[Substantive RlCO].

The maximum punishment for a violation of this Section is not more than twenty
(20) years imprisonment not more than $250,000.00 fine, or both, a term of not more
than five (5) years supervised reiease, $100 special assessment and forfeiture to the
United States of (1) any interest the defendant has acquired or maintained in violation of
1962; (2) any - (A) interest in; (B) security of; (C) claim against; or (D) property or
contractual right of any kind affording a source of influence over; any enterprise which
the defendant has established operated controlled conducted or participated in the
conduct of, in violation of section 1962. The Court in imposing sentence, shall order, in
addition to any other sentence imposed pursuant to this section, that the defendant
forfeit to the United States ali property described in this subsection. in lieu of a fine
othenivise authorized by this section, a defendant who derives profits or other proceeds

from an offense may be fined not more than twice the gross profits or other proceeds

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Property subject to criminal forfeiture under this section includes - (1) real property,
including things growing on, affixed to, and found in land; and (2) tangible and intangible
personal property, including rights privileges interests claims and securities

l understand that this is a P|ea Agreement pursuant to Rule 11(c)(1)(C), and that
there is an agreed upon sentence of imprisonment of Sixty (60) months l understand
that l will be given credit for ali of the time that i have been in custody regarding this
matter, specifically including the time l was in custody in the country of Costa Rica and
the time i have been in custody since being returned to the United States pursuant to an
extradition order. The time spent in custody in Costa Rica began on the date of my
arrest on December 6, 2002 and included time spent in custody at a Costa Rica prison,
in custody at Cima l-iospitall and in custody under house arrest until my transfer to U.S.
custody. l was transferred to the custody of the U.S. Marshai for the Western District of
Tennessee on Aprii 16, 2004 and have remained in custody until the present

i understand that if l desire to be transferred to a Canadian penal facility for
purposes of completing my term of incarceration as set forth above, the United States
Attorney’s Office for the Western District of Tennessee will assist me in accomplishing
such Treaty Transfer Request in an expeditious manner. The Government's assistance
will include (1) supporting a recommendation to the Court that i be designated to the
Bureau of Prisons facility which will accomplish my prisoner transfer most quick|y, (2)
coordinating with the Bureau of Prisons and the U.S. Marshal's Service for expedited
movement to the facility to which l am designated (3) requesting the prompt processing
of my application by the case manager, Unit i\/lanager, and Warden at the designated

facility, (4) supporting prompt consideration of my transfer application at the U.S.

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Department of Justice, (5) facilitating expedited consideration of my transfer application
at the international Transfers Office of the Correctional Service of Canada, and (6)
facilitating my prompt transfer from U.S. custody to Canadian custody if my application
is approved

i understand that if l fulfill each and every term of this Piea Agreement and the
Court accepts the terms of this P|ea Agreementl the United States at sentencing, will
move the Court to dismiss all remaining Counts of the indictment charging me with
violations of various federal criminal statutes

i understand that the Court may accept or reject the terms of this P|ea
Agreement l further understand that if the Court rejects the terms of this Piea
Agreement i will be given the opportunitth withdraw my plea of guilty herein.

The Government agrees to recommend to the Court that sentence be imposed
immediately following entry of my plea on July 14, 2005. l hereby waive any
requirement of a presentence investigative report Aithough l waive such report l
understand that the Court may order that a thorough presentence investigation be
conducted and sentencing recommendations independent of the United States
Attorney‘s Office be made by the preparer of the presentence report which the Court
may adopt or take into consideration, with the understanding however that this is a Ruie
11(c)(1)(C) piea. in lieu of a presentence report the Government and the defendant
agree to provide the Court on or before of the entry of the plea with a Joint Statement
concerning my background relationships health, and nature of the charges

The Government agrees to ask the Court to recommend that l be designated to

serve my sentence at FDC Sea Tac, Sea Tac Washington. if this designation is

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unavailable for some reason, the Government agrees to ask the Court to recommend
that l be designated to serve my sentence at FPC Sheridan, Oregon.

l understand and agree to the criminal forfeiture of the following property
pursuant to 18 U.S.C. §1963 to be disposed of in accordance with law:

a. The sum of Twelve Miiiion Doliars ($12,000,000.00) in U.S. funds such
forfeiture to be partially satisfied from the assets held at Lombard Odier Darier Hentsch
Private Bank Ltd. in Gibraltar (the “Gibraitar funds") and subject to the Court's
repatriation order dated i\/iay 27, 2004, as amended by its order dated Aprii 15, 2005;
and ali of which shall be deposited into the Registry of the United States District Court
for the Western District of Tennessee. Any additional funds needed to meet the total of
Twelve Nliilion ($12,000,000.00) U.S. Doliars will likewise be deposited with the Cierk of
the Court into the Registry of the Court and shall be due at the date of sentencing.
These funds shall be maintained by the Cierk until ali of the terms of this agreement
have been met and no contingencies remain.

As noted in the preceding paragraph, the assets subject to the Court’s
repatriation order will be used to satisfy in part the above said Twelve Nlil|ion
($12,000,000.00) U.S. Doliars Those assets are to be deposited into the Registry of
the Court, per the Court’s repatriation order which is attached The assets subject to
repatriation as ordered by the Court are those in the accounts of:

ABN-AMRO BANK N.V., Gibraltar Branch

Suite 731-4 Europort

P.O. Box 100
Gibraltar

1) any and all accounts in the name of Crake Limited;
2) any other account in which Alvin lnrvin iVioss is a signatory party,
hoider, owner or beneficiary.

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Lombard Odier Hentsch Private Bank Limited
(formerly known as The Gibraltar Private Bank Limited)

1 ) Account #W 1150 in the name of the Beiar Trust;

2) Account #W 1151 in the name ofthe Kendal Trust;

3) Account #W 1151 in the name of the Trevi Trust;

4) Any other account in the name of the Beiar Trust, The Trevi Trust, or

The Kendal trust or for which Alvin lnrvin lVloss is a signatory party, hoider,
owner, or beneficiary.

b. in addition to the above said Twelve lVlillion ($12,000,000.00) U.S. Doliars
any and all assets of mine currently held by inversiones Haas, S.A.; Servicios de
Soporte al Turismo, S.A.; or by Luis-Enrique Vi|laiobos, Osvaldo Viiialobos, or Freddy
Viilaiobos individuaiiy; or by any other company controlled by them (the “Vi|ialobos
claims”) to the extent that the United States orl am able to recover those assets

l further agree to waive all interest in the above-described assets in any
administrative or judicial forfeiture proceeding, whether criminal or civill state or federal,
inside or outside the United States l agree to consent to the entry of orders of forfeiture
for such property prior to sentencing and waive the requirements of Federal Rules of
Criminal Procedure 32.2 and 43(a) regarding notice of the forfeiture in the charging
instrument announcement of the forfeiture at sentencing, and incorporation of the
forfeiture in the judgment i acknowledge that i understand that the forfeiture of assets
is part of the sentence that may be imposed in this case and | waive any failure by the
court to advise me of this pursuant to Ruie 11(b)(1)(J), at the time my guilty plea is
accepted

i further agree to waive ali constitutional and statutory challenges in any manner
(inciuding direct appeai, habeas corpus or any other means) to any forfeiture carried

out in accordance with this plea agreement on any grounds including that the forfeiture

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constitutes an excessive fine or punishment l further agree to fully assist the United
States in the recovery and return to the United States of the above identified forfeitable
assets (the “Gibraitar funds" and the “Viiiaiobos claim") and prevent the disbursement of
any moneys l further agree to do ali that is required to effectuate the transfer of the
above identified assets (the “Gibraitar funds" and the “Viiiaiobos claim") located in Costa
Rica and Gibraltar to the United States l agree to testify truthfully in any judicial
forfeiture proceeding. l acknowledge that ali property covered by this agreement is
subject to forfeiture as property interests l have acquired or maintained in violation of 18
U.S.C. §1962, or as substitute assets for property otherwise subject to forfeiture.

if l should faii, in any way, to fulfill completely ali of the obligations under this P|ea
Agreement then in such event the United States will be released from its obligations
under this P|ea Agreement Thus for exampie, if l do not tender the forfeiture of Twelve
Miilion ($12,000,000.00) U.S. Doliars within the time period provided or in the form
specified such would constitute a violation of this Agreement and the United States
would be permitted to withdraw this P|ea Agreement and proceed with the prosecution
against me of the criminal violations contained in the indictment in this cause. Likewise,
if the United.States fails in any way to fulfill completely ali of its obligations under this
Agreement i will be released from any obligation under this Agreement and the case
shall proceed as if this plea had not been entered

l understand if either party to this agreement breaches this agreement and the
other party exercises it’s right to withdraw from the agreement ali the funds held by the
Cierk of the Court shall continue to be held by the Cierk until a final resolution of the

charges has occurred

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The deposit of these funds will not be construed as any admission of guilt or of
the right of the United States to forfeit them.

i understand my sentence will not include a fine.

l further agree to cooperate fully and truthfully with the Government in this matter.
As part of this cooperation, l am willing to meet with the criminal investigators and
respond truthfully and completely to any and all questions or inquiries that may be put to
me at any meeting. The Government agrees that it will not question me on matters
relating to my children or request that i testify as to any matter relating to them.
Othenlvlse, l agree to testify at any trial regarding any and all allegations contained
within the indictment in this cause (indictment No. 02-20165-D W.D. TN.). | understand
that my complete truthfulness and candor are express material conditions to the
undertakings of the Government set forth in this P|ea Agreement Therefore, if the
Government should ever conclude that l have knowingly withheld material information
from the Government or othen/vise not been completely truthful and candid the
Government may use this against me for any purpose (inciuding sentencing) any
statements made or other information provided by me during any meeting. if the
Government so concludes it will notify me before making any use of such statements or
other information. l understand that the Government reserves the right to use any
statements or information provided by me in any prosecution for false statements
obstruction of justice or perjury.

| further agree, as part of my cooperation with the Government that l will
immediately take ali necessary actions to assist the United States in obtaining, as soon

as possibie, ali records and documents that were seized on Juiy 12, 1996, during the

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execution of search warrants by law enforcement authorities in Barbados W.i. These
records and documents consisting of approximately 140 banker-sized boxes which are
currently located in Barbados W.l., were seized from the headquarters and other
storage facilities of lDM. My actions as weil as individuals acting at my direction to
assist the Government will inciude, as the authorized principal of i.D.lVi. Direct
Marketing Corporation, the request for immediate dismissal of any action or appeal
presently pending in any court in Barbados W.i.

l agree to waive my right to appeal on the grounds set forth in Title 18, United
States Code, Section 3742.

l understand that persons convicted of crimes are required to pay a mandatory
assessment of $100 per felony count of conviction. l agree that payment of this
assessment in fuii, is due upon sentencing

i understand that this agreement does not apply to any crimes that i may have
committed (other than those specifically set forth hereln), or that l may commit
hereafter, including perjury.

i understand that the prosecution will be free to fully describe the nature of these
offenses and the evidence in this case. l reserve the right to comment on the
prosecution’s description of the nature of these offenses and the evidence in this case.

l willingly stipulate that there is a sufficient factual basis to support each and
every material factual allegation contained within the count of the indictment to which i
am pleading guilty.

i understand and agree that in addition to each of the foregoing terms and

obligations this entire P|ea Agreement is contingent upon the entry of a plea of guilty by

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each of the following three (3) named defendants in the indictment in this matter:
LARRY CHARLES MOSS, JEFFREY ALLEN MOSS, and BEVERLY ANN MOSS. The
pleas of guilty by these (3) defendants will be pursuant to separate plea agreements
Faiiure of any one of these three (3) defendants to enter a plea of guilty will make this
entire Agreement null and void at the unilateral election of the United States The
United States will then, if it so desires be released from any obligation under same, and
will be free to fully prosecute all charges now pending against me.

i have not been coerced threatened or promised anything other than the terms
of this plea agreement described above, in exchange for my plea of guilty. i
understand that l will have an opportunity to personally address the Court prior to
sentence being imposed.

l can read and write, and i have read and discussed the terms of the foregoing
plea agreement with my attorney, Robert G. Chadweii, and am satisfied with my
attorney and-his advice and counsel. Being aware of all of the possible consequences
of my piea, l have independently decided to enter this plea of my own free wili, and am

affirming that agreement on the date and by my signature below.

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PLEA AGREEMENT - ALV|N lRV|N MOSS ontinued)

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7 / l 4-/ 05
DATE sieNEn

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DATE SIGNED

DAN L. NEwsoM r;
Senior Litigation Cou el
U.S. Attorney's Office
Western District of Tennessee

WL-YW

HlSTOPHER E. COTTEN
ssi istant United States Attorney
U. S. Attorney' s Office
Western District of Tennessee

 

RREL . HARR|S
United States Attorney
Western District of Tennessee

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Case 2:O2-cr-20165-BBD Document 562 Fiied 07/18/05 Page 31 ofEHLEBageiQ)P§N COURT
DATE: ’7~l‘l-3~00<§
UN|TED STATES VS. ALVlN lRWIN MOSS q.O-} w
cRerNAL No. 02-20165-0 (w.o. TN.) T'ME= ‘

_______-____
COUNT 1 (Substantive RlCO) ijTjALS; z. §§

GOVERNMENT’S BAS|S IN FACT

Had this matter proceeded to trial, the Government through the sworn testimony
of witnesses in open court including witnesses who worked directly with Defendant ALV|N
|RW|N MOSS, witnesses who worked within the “enterprise", and witnesses who have
been identified as victims of the fraudulent activities of the “enterprise”; and through the
introduction of physical evidence, would have proven the following, as to Count 1 of the
indictment

Defendant ALV|N lRWIN MOSS, together with his other named co-defendants
with lVliiton Strassberg, an undicted co-conspirator, and the following unindicted
corporations and associations: l D iVi Direct Marketing Corp (iDiV|), World Wide
Enterprises, Ltd., Assertive Marketing Services inc., i T A Enterprises, Ltd. , Boss
Communications W C L A Enterprises, Ltd., L & M Direct Marketing, inc., intel Systems
Pty., Ltd., intel Systems Corp., Ltd, intel Direct Marketing Pty., Ltd., D R M, Ltd., Direct
Response Marketing, Ltd, i\/iaverick internationai, Macintosh Marketing Network, Ltd.,
Generai Teiemarketing, inc., Stron Direct Marketing Corp., Vanuatu Maritirne Services
Limited European Bank, Ltd., Pacilic international Trust Company Limited Atias
Corporation, Ltd., G .F. international Group inc., Sky Eagle Ltd., integro Trust Company
Ltd, Neaie investments l_td Niazeitov investments Ltd, L B J Trust, Kosmoii investments
Limited Universai Export Services inc., A C A Enterprises Ltd, Providence Marketing
Corp., Armos Hoidings Ltd, and others constituted an enterprise as defined by Title 18,
United States Code, Section 1961 (4), nameiy, corporations associations and individuals
associated in fact

From a date unknown, but at least from in or about December, 1989, and
continuously thereafter until on or about the date of the indictment within this District (the
Western DistrictofTennessee), and elsewhere, Defendant ALV|N |RWlN MOSS, together
with his other named co-defendants, and with iViiiton Strassberg, all being persons
employed by and associated with the enterprise, an enterprise engaged in and the
activities of which affected interstate and foreign commerce, unlawfully and knowingly
conducted and participated directly and indirectiy, in the conduct of the affairs of that
enterprise through a pattern of racketeering activity, that is through the commission of
acts which occurred on or about the dates as alleged for each act and in the manner
alleged for each act in Count 1 of the indictment

Defendant ALVlN |RW|N MOSS was a director, officer, beneficial owner and true
party in interest ofl D M DiRECT MARKETING CORP., WORLD WiDE ENTERPRISES,
LTD., WCl_A ENTERPR|SES, LTD., NEALE iNVESTi\/iENTS LTD., MAZELTOV
iNVESTMENTS LTD., and L B J TRUST and as suchl had responsibility forthe direction,

control, operation and management of these organizations including the sales and
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promotion of lottery tickets to citizens of the United States nationwide, and the collection
and ultimate distribution of proceeds from such sales and promotions

Defendant ALV|N lRWIN MOSS, his co-defendants and their associates through
the use of the named corporations associations and individuals all of whom constituted
the "enterprise” would create and execute a plan and method of operation whereby citizens
of the United States nationwide, would be fraudulently induced to purchase foreign and
domestic lottery chances Among the means and methods by which the Defendant Alvin
Moss, his co-defendants and their associates conducted and participated in the conduct
of the affairs of the enterprise were the following:

Members of the enterprise and theirassociates initially established a "headquarters"
in Richmond, British Co|umbia, Canada. This entity was called WORLD WiDE
ENTERPR|SES, LTD. This "headquarters" was later moved to Barbados West indies
and the entity name was changed to l D M DiRECT iViARKETlNG CORP.. Members of the
enterprise and their associates established teiemarketing rooms - one named l T A
ENTERPRISES, LTD. in Vancouver, British Co|umbia, Canada, and one named D R lVi,
LTD. in Freeport Jamaica. Soiicited United States citizens would reach one of these
teiemarketing rooms when using the "1-800" telephone numbers contained in the
"promotional materiais". Various misrepresentations were made by members of the
enterprise and their associates through these teiemarketing rooms for the purpose of
fraudulently inducing solicited United States citizens to place orders and to provide credit
card information. information received from solicited citizens was thereafter fonivarded
from these teiemarketing rooms to Barbados by means of facsimile transmission.

Members of the enterprise and their associates established a merchant credit card
account in the name ofW C L A ENTERPR|SES, LTD. in Canada and a merchant credit
card account in the name of iNTEL SYSTEMS PTY., LTD. in Austraiial and later in
Vanuatu. These accounts were used to process credit card payments received from
solicited United States citizens

Members of the enterprise and their associates would develop various "promotional
campaigns" designed to obtain money by means of false and fraudulent pretenses
representations and promises through the sale of lottery tickets and other lottery related
activities

As part of the "promotional carnpaign"1 members of the enterprise and their
associates would create and print and cause to be created and printed mass quantities
of written promotional materials to be mailed to citizens throughout the United States
These promotional materials included two alternative methods by which the solicited
citizen could respond One method was to dial a "1-800" telephone number and the other
method was to return a self-address envelope which contained a promotional name and
post ofhce box address only.

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As part of the "promotional campaign", members of the enterprise and their
associates would use numerous promotional names in the materials mass mailed to
citizens throughout the United States These names specifically included the following:
Austraiian Lottery Disbursement Centre (ALDC), Austraiian Lottery Winners Dispatch,
Award Participation Seiection Committee, EG/North Americari Lottery Disbursement
Authority, international Lottery Award Services international Lottery Entry Services
international Lottery Headquarters international Lottery News Service, international Lottery
Payout Cooperativel international Lottery Payout Services (iLPS), international Lottery
Renewai, international Lottery Rewards Commission (iLRC), international Lottery Services
Joanannes Von Voiant. Joint Commission Americari Nippon (JCAN), LotteryWin Selection
Center, North American Lottery Payout Services Payroll Coiiection Services United Win
Fund internationall Win Selection Registry of America, and Winning Advantage Austraiia,
Winning Advantage lnternationai.

As part of the "promotional campaign", members of the enterprise and their
associates would develop and otherwise obtain mass mailing lists of United States citizens
to be solicited

As part of the "promotionai campaign", members of the enterprise and their
associates would establish post office box accounts at various mail receiving centers
throughout Canada. These post oche boxes would be used to receive orders and
payments for lottery related activities fonlvarded by citizens of the United States in
response to the promotional materials previously received from members of the enterprise
and their associates

As part of the "promotional campaign", members of the enterprise and their
associates would mail and cause to be mailed mass quantities of "promotional materiais"
to citizens throughout the United States The "promotional materials" instructed the
solicited citizen to make payment by forwarding a check to members of the enterprise and
their associates through the mail or by calling a "1-800" and providing credit card
information.

Members of the enterprise and their associates would make and cause to be made
misleading and deceptive representations and deliberately omit material facts concerning
the true nature of the solicitation in order to induce citizens of the United States to send

them money

Members of the enterprise and their associates in order to induce citizens of the
United States to send them money, would make, and cause to be made, various false and
fraudulent pretenses representations and promises well knowing that these pretenses
representations and promises would be and were false and fraudulent when made,
including but not limited to the following:

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That other customers of the defendants had recently won a big lottery prize;
Defendants' promotional materials exhibited photographs and listed names of these
"winners". in truth and fact the persons pictured were not customers of the
defendants

That lottery winnings were "tax free". in truth and fact they were tax freeonly
with respect to the place where the lottery was held and were subject to substantial
taxes for United States residents

That the solicited citizen would receive "tested to win lottery numbers"
in truth and fact purchasers were randomly given numbers

That the solicited citizen's name appeared on a "winner's iist"
in truth and fact there had been no actual winning by the solicited citizen;

The solicited citizen was instructed to provide their credit card number purportedly
for purpose of paying a fee required forthe collection of their winnings in truth and
fact the credit card number was used to initially purchase lottery tickets or to
purchase additional tickets

That a "psychic", retained by the defendants had determined that certain
numbers selected by the "psychic" would win. Further, that if these numbers
failed to win and the solicited citizen did not receive at least $50,000.00 in
winnings the solicited citizen would be entitled to 2,000 free lottery tickets from
the defendants in truth and fact there was no "psychic" as represented and
solicited citizens who participated did not receive $50,000, nor 2,000 free lottery
tickets

That a "confirmation" would be received by the solicited citizen, containing their
lottery numbers in truth and fact in many instances the participating citizen
never received the promised "confirmation" or any similar correspondencel

Members of the enterprise and their associates in order to induce citizens of the
United States to send them money, would deliberately_omit and cause to be omitted
material facts as to the true nature of the solicitation, including but not limited to the
following:

Soiicited citizens were not told that it was illegal to purchase lottery tickets
in the fashion advertised and that lotteries would refuse to pay winnings if they
learned of the true nature of the purchases

Soiicited citizens were not told that the telemarketer they were speaking with was
using an alias name and not revealing his or her true identity or iocation.

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Soiicited citizens were not told that the tickets they paid for were merely randomly
assigned without regard to any "tested to win“ procedure.

Members of the enterprise and theirassociates through ASSERTIVE MARKET|NG
SERV|CES, |NC. in Richmond British Co|umbia, Canada,wouid routinely retrieve from the
Canadian post office boxes the orders and monies mailed by United States citizens in
response to the solicitations The mail would then be opened and sorted by promotion.
Orders and money would be fonivarded from Canada, by means of Federal Express, to
Barbados.

Members of the enterprise and their associates would create and execute a plan
and method of operation whereby the identities of the true and beneficial owners
operators directors and real parties in interest would be concealed Said plan and method
of operation included but was not limited to:

Use of multi-ievei corporate entities

Use of nominees and fictitious persons as management figures of the corporate
entities

Limiting empioyees' information and knowledge as to job responsibilities of
others and overall operation and management of the various corporate entities
Use of numerous accounts account names and various banking facilities
located in the United States and in foreign countries..

Use of name and address of various entities on mailing documents to conceal
the true location of the defendants and organizations involved in the enterprise,
Use of alias names when conducting business with citizens of the United

States

Members of the enterprise and their associates through the use of L & lVi DiRECT
MARKET|NG, in Cherry Hiii, New Jersey, and iNTEL SYSTElV|S PTY., LTD., in
Queensland, Austraiia, would purchase certain quantities of lottery tickets from lotteries
operating within the United States and in foreign countries Tickets relating to state
lotteries located within the United States were purchased in violation of state laws
regulating those lotteries Aii purchased lottery tickets were maintained by these entities
and were not forwarded on to the citizen who purchased the tickets Proceeds from many
winning tickets were held by members of the enterprise and their associates purportedly
for the purpose of applying the proceeds to the purchase of future lottery tickets

Because of various Cease and Desist Orders issued by the United States Postal
Service, and confiscations of their lottery materials which were being illegally imported into
the United States Defendant Alvin irwin Moss and other members of the enterprise
utilized Federal Express Corporation, headquartered here in Memphis, Tennessee, as a

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means of continuing their fraudulent activities FedEx accounts were set up by various
members of the enterprise and international shipments in furtherance of the unlawful
activities were routinely made, many of which came through Memphis, Tennessee.

Members of the enterprise and their associates established numerous bank
accounts located in the United States and in various foreign countries to facilitate the
enterprise's overall operation and to conceal and disguise the nature, iocation, source,
ownership and control of the proceeds deposited into the accounts

Members of the enterprise and their associates through the operation and
execution of the above said plan, would utilize the operation proceeds to perpetuate their
unlawful enterprise for their own ultimate gain, benefit profit advantage and
accommodation

Members of the enterprise and their associates would seek to obtain additional
monies from United States citizens who had already participated with them by repeatedly
mailing the citizen promotional materials under numerous names and locations thereby
creating the false impression that the promotions were being sponsored by different
organizations

Witnesses, named in the various Racketeering Acts of Count 1 of the indictment
who were personally contacted through mass mailings of iDM promotional materials some
providing materials they actually received would have testified as to specific
misrepresentations made in order to induce them to participate in lottery promotions
causing them to fonlvard payment through the United States mails and other commercial
interstate carriers in the form of checks money orders and credit card charges The
names of some of these witnesses are Juanita S. l-iowie from the Western District of
Tennessee, Ariie E. Hamric from the Western District of Tennessee, Juanita-Wil+iams-+rem
theWeetan-Dietrict-cf-¥en-neeeee, Biliy H. Nash from the Western District of Tennessee,
Nancy Chapman from the Western District of Tennessee, Haroid V. Rininger from the
State of Ohio, iVlaurice Saianderfrom the State of New York, Wanda Nash from the State
of Georgia, Wiiiiam Lee from the State of F|orida, Wal|ace Taffet from the State of New
York, Robert B. Wharton from the State of Arizona, Betty Postlewait from the State of
i\/iichigan, iV|argaret Paytes from the State of Ohio, lV|arvis Reynolds from the State of
Oregon, Warren A. Mliler from the State of Texas irene Huot from the State of F|orida,
Dougias F. Avery from the State of lViaine, Geneva Baiiey from the State of California,
Stehman H. Brubaker from the State of Deiaware, JoAnn Carter from the State of
Caiifornia, Juanita S. Rogers from the State of Coiorado, Ann iVi. Seager from the State of
New Vork, Betty J. |\/lartin from the State of Virginia, June Threlkeid from the State of
Caiifornia, John R. Fuikerson from the State of Caiifornia, David L. Cronberger from the
State of Michigan, Wiiiiam Franklin from the State of Arizona, Saily A. Gibbs from the State
of l\/lassachusetts Avoneiie S. Hotchkin from the State of F|orida, Lonnie Anderson from
the State of iViississippi, Lorraine Pheips from the State of South Carolina, Eiia Rawiinson

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from the State of South Carolina, Eudosia Juanitas from the State of Caiifornia, Nancy C.
Aiken from the State of New Vork, Royce Hutchins from the State of Arkansas, Aifred
Bowman from the State of F|orida, Lucille Camden from the State of indiana1 Donna M.
iVicFaii from the State of Wyoming, Betty Marker from the State of Pennsyivania, Ruby R.
Holmes from the State of F|orida, Annie Ruth Loving from the State of Oregonl and Ernest
McGiii from the State of Florida. The financial records of these victims and other banking
records would have been admitted to prove that these funds were received and processed
through accounts created and othen)vise utilized by various defendants specifically
including Defendant Alvin irwin Moss.

Testimony of sworn witnesses and physical evidence admitted at trial would have
established that Defendant Alvin irwin Moss and his co-defendants once that had
obtained funds from U.S. citizens who had been fraudulently induced to forward such
funds transferred the proceeds of their unlawful activities between places inside the United
States and places outside the United States for the purpose of promoting the carrying on
of their unlawful activities and forthe purpose of concealing and disguising the nature, the
iocation, the source, the ownership and the control of such funds The Government’s proof
as to this conduct who have further established that it took place at the locations and
during the times alleged in the various Racketeering Acts contained in Count 1 of the
indictment

As the result of the execution of the above said scheme and artifice to defraud
thousands of citizens of the United States were induced to forward in excess of $100
million dollars to Defendant Alvin irwin Moss, his co-defendants and their associates As
a result Defendant Alvin irwin Moss has an interest in at least $12 Miilion Doliars (US)
in property constituting or derived from proceeds obtained directly or indirectly from the
above said scheme and artifice to defraud

TERRELL L. HARR|S
' ed States Attorney
tern District of Tennessee

 
 
   

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SeniorLitigation ounsel
United States Attorney's Office
Western District of Tennessee

 

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Honorable Bernice Donald
US DISTRICT COURT

